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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

KATELYN HANKS,                                         )
                                                       )
                               Plaintiff,              )
                                                       )      CIVIL ACTION
vs.                                                    )
                                                       )      File No. 3:19-CV- 2207

LA MICHOACANA MEAT MARKET TM                           )
HOLDINGS, LLC and ROADE PROPERTIES,                    )
LTD.,                                                  )
                                                       )
                               Defendants.             )


                                  NOTICE OF SETTLEMENT

        Plaintiff, KATELYN HANKS (“Plaintiff”), by and through the undersigned counsel,

hereby notifies this Court that Plaintiff has reached settlement of all issues pertaining to his case

gainst Defendant, ROADE PROPERTIES, LTD.

        Plaintiff and Defendant, ROADE PROPERTIES, LTD., are presently preparing a formal

settlement agreement for signature and intend to file a Joint Stipulation of Dismissal of Plaintiff

with Prejudice once the agreement is finalized. Plaintiff and Defendant request thirty (30) days

within which to file its dismissal documents.

        Respectfully submitted this 17th day of December, 2019.

                                                //s/ Douglas S. Schapiro
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                                             ATTORNEYS FOR PLAINTIFF




                                CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that a true and correct copy of the foregoing was filed

electronically using the CM/ECF system on this 17th day of December, 2019.



                                             /s/Douglas S. Schapiro
                                             Douglas S. Schapiro, Esq.
                                             Northern District of Texas ID No. 54538FL




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